                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION
                                   1:07 CR 69-10


UNITED STATES OF AMERICA,                          )
                                                   )
Vs.                                                )             ORDER
                                                   )
MICHAEL RAY ELLIOTT,                               )
                                                   )
                  Defendant.                       )
________________________________________           )


          THIS CAUSE coming on to be heard and being heard before the undersigned,

pursuant to a Motion to Reconsider Bond (#86) and an Amended Motion to Reconsider Bond

(#101) filed by defendant’s counsel, Victoria Jayne. At the call of this matter on for hearing,

Ms. Jayne advised the court that there was an issue that had arisen concerning the

representation of the defendant and whether or not the defendant had now retained counsel

to represent him. The undersigned conducted an in camera hearing with the defendant and

Ms. Jayne. Thereafter, in open court, the defendant advised that he desired that Ms. Jayne

represent him in this matter and that she act as his attorney. The undersigned having

determined that it is the wish of the defendant that Victoria Jayne represent him in this

matter.

                                          ORDER

          IT IS, THEREFORE, ORDERED:

          1.    That the defendant will be represented by Victoria Jayne, the attorney

appointed by the undersigned to represent the defendant in this matter.



       Case 1:07-cr-00069-TSE          Document 129        Filed 08/24/07      Page 1 of 2
       2.     That if there is any communication made with the defendant by any attorney

other than Ms. Jayne, this court will consider it as a communication in violation of Rule 4.2

of the Rules of Professional Conduct of the North Carolina State Bar.




                                             Signed: August 24, 2007




                                             2


      Case 1:07-cr-00069-TSE        Document 129       Filed 08/24/07    Page 2 of 2
